Case: 1:17-md-02804-DAP Doc #: 2208-20 Filed: 08/13/19 1 of 3. PageID #: 334838




                    PSJ11 CVS Opp Exh 20
         Case: 1:17-md-02804-DAP Doc #: 2208-20 Filed: 08/13/19 2 of 3. PageID #: 334839 MR 74 - 001

                                                             U. S. Department of Justice
                                                             Drug Enforcement Administration
                                                              Chicago Field Division
                                                              230 South Dearborn Street
                                                              Suite 1200
                                                              Chicago, Illinois 60604
           www.dea.gov


           CVS Indiana
           c/o Elizabeth Ferguson
           7590 Empire Dr., Door 116-123
           Indianapolis, IN 46219

           Dear Ms. Furgeson:

               In July, 2013, Investigators from the Drug Enforcement Administration (DEA), Indianapolis
           District Office, initiated a regulatory investigation at CVS Indiana (DEA R/N: RH0197170) located
           at 7590 Empire Dr., Doors 116-123, Indianapolis, Indiana 46219. As a result of this investigation,
           the following violation of the Controlled Substance Act (CSA) was identified:

                  1. Failure to design and maintain a system to detect suspicious and report suspicious orders
                     for Schedule III-V Controlled Substances as required by Title 21 United States Code
                     (USC) 821, Title 21 USC 823(e)(1), and Title 21 Code of Federal Regulations (CFR)
                     1301.74(b) in violation of Title 21 USC 842(a)(5) in that CVS failed to detect orders that
                     should have been identified as suspicious for retail locations in Vincennes and Kokomo
                     Indiana.

                  2. Failure to maintain an accurate biennial inventory as required by Title 21 USC 827(a) and
                     Title 21 CFR 1304.11(a) in violation of Title 21 USC 842(a)(5) in that for Clonazepam
                     lmg the summary page indicated one value while the supporting worksheets indicated
                     another.

               This letter is a formal notification of your violations of the CSA. At this time, you are being
           afforded the opportunity to comply with the requirements of the Act.

               Please advise this office in writing within thirty (30) days as to the action taken or planned to
           correct these violations. Please direct your written response to: Drug Enforcement Administration,
           575 North Pennsylvania Street, Suite 408, Indianapolis, Indiana 46204, Attn: Diversion Investigator
           Andrew Ratcliff.




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         Case: 1:17-md-02804-DAP Doc #: 2208-20 Filed: 08/13/19 3 of 3. PageID #: 334840 MR 74 - 002




              If you have question concerning this matter, please contact Diversion Investigator Andrew
           Ratcliff at (317) 613-4606.


                                                          Sincerely,


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                                                                             1213t I IS-
                                                          Daniel J. Gillen
                                                          Diversion Program Manager
                                                          Chicago Field Division




HIGHLY CONFIDENTIAL                                                                              CVS-MDLT1-000008015
